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                                     UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEW HAMPSHIRE



                                                     )
    UNITED STATES OF AMERICA                         )                        1:21-CR-00088-PB
                                                     )
    v.                                               )
                                                     )
    COREY DONOVAN                                    )
                                                     )
                                                     )


                                        DEFENDANT’S MOTION TO DISMISS II

            The Supreme Court’s recent opinion in New York State Rifle & Pistol Association, Inc. v.

    Bruen, 142 S. Ct. 2111 (2022), marked a dramatic shift in Second Amendment law 1. Mr.

    Donovan is aware of two other cases in this district where the defendant asked that this Court

    dismiss their indictments charging the crime of felon in possession of a firearm and

    ammunition under 18 U.S.S. § 922(g)(1) based on this shift in jurisprudence. Specifically, Mr.

    Donovan is aware that counsel in U.S. v. Brandon Dumont at 1:22-CR-53-PB-1, Doc. 34 and

    U.S. v. Michael Roux at 1:22-CR-19-SM-01, Doc. 32, have filed such motions. Mr. Donovan is

    also aware that this Court has denied at least one motion to dismiss on this claim. The

    defendant is aware that this Court will likely deny this motion but he files this motion as he

    is aware of litigation that could potentially result in a different finding in other courts in the

    future. This pleading draws heavily from the pleadings filed by Attorney Dorothy Graham, in

    U.S. v. Brandon Dumont at 22-CR-53-PB-1, Doc. 34 and the pleading filed by Attorney Kirsten



1   This pleading draws heavily from that filed by Atty. Dorothy Graham, in 22-CR-53-PB-1
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Wilson in U.S. v. Michael Roux at 1:22-CR-19-SM-01, Doc. 32.

       Under the new framework mandated by Bruen, the Court should dismiss count one

of the indictment which charge Mr. Donovan with being a prohibited person in possession

of a firearm and ammunition under 18 U.S.C. § 922(g)(1). Because possession of a firearm

comes within the Second Amendment’s “plain text,” Mr. Donovan’s conduct is presumptively

protected. And the government will be unable to rebut that presumption. Felon-

disarmament laws, which did not appear in the United States until the 20th Century, were

unknown to the generation that ratified the Second Amendment. Under the analysis set forth

in Bruen, the indictment must be dismissed.

I.    FACTS
       Mr. Donovan is charged in a one count indictment with being a felon in possession of

a firearm/ammunition in violation of 18 U.S.C. §922(g)(1). Mr. Donovan went to trial on the

indictment and was found guilty by jury on October 15, 2021. A sentencing hearing is

scheduled for November 28, 2022.

       In the case before the Court, a search warrant was issued and executed for Mr.

Donovan’s home and vehicle in rural Wilmont, NH. The defendant’s property consisted of

several separate buildings, including a main home, a garage apartment and a large

workshop. Doc. 80 ¶ 11. Mr. Donovan’s mother and sister occupied the main home and Mr.

Donovan and his girlfriend resided in the garage apartment. Id. An extension of the warrant

was issued at 1:20 pm on March 26, 2021. Prior to the issuance of an extension to the

warrant, law enforcement searched and located a Mossberg Model 500, 20-gauge shotgun

strapped to the roll bar in the green Jeep Wrangler. Doc. 12 at 2.
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II.    LEGAL BACKGROUND

       A.     Before Bruen, lower courts assessed Second Amendment challenges by
              applying means-ends scrutiny.

The Second Amendment provides, “A well regulated Militia, being necessary to the security

of a free State, the right of the people to keep and bear Arms, shall not be infringed.” U.S.

Const. amend. II. In District of Columbia v. Heller, the Supreme Court held the Second

Amendment codified a pre-existing individual right to possess and use firearms for lawful

purposes like self-defense. 554 U.S. 570, 592, 624 (2008). The Court canvassed “the

historical background of the Second Amendment.” Based on this survey, the Court

concluded the right protected by the Second Amendment is “not limited to the carrying

of arms in a militia.” Id. at 586. Rather, “the Second Amendment confers an individual right

to keep and bear arms” that “belongs to all Americans.” Id. at 581, 622. Two years after

Heller the Court reaffirmed Heller’s “central holding”: that “the Second Amendment protects

a personal right to keep and bear arms for lawful purposes, most notably for self-defense

within the home.” McDonald v. City of Chicago, 561 U.S. 742, 780 (2010). The Court

described the right to keep and bear arms as “deeply rooted in this Nation’s history and

tradition.” Id. at 768. And that right, the Court warned, should not be treated “as a second-

class right, subject to an entirely different body of rules than the other Bill of Rights

guarantees.” Id. at 780.

       Following Heller and McDonald, the federal courts of appeals developed a two- step

inquiry for deciding Second Amendment challenges. Bruen, 142 S. Ct. at 2126-27 &

n.4. The first step “ask[ed] whether the challenged law burdens conduct that falls within the

scope of the Second Amendment’s guarantee.” Gould v. Morgan, 907 F.3d 659, 668 (1st Cir.

2018). If the challenged law imposed no such burden, it was valid. Id. But if the statute did
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burden Second Amendment conduct, courts then “determine[d] what level of scrutiny [was]

appropriate and … proceed[ed] to decide whether the challenged law survive[d] that level

of scrutiny” Id. Courts employed strict scrutiny if a challenger’s claim implicated “the core

right identified in Heller—the right of a law-abiding, responsible citizen to possess and carry

a weapon for self-defense.” Id. at 225-26 (emphasis omitted). Otherwise, intermediate

scrutiny applied. Id. Both forms of scrutiny involved weighing the governmental interest in

firearm restrictions against the challenger’s interest in exercising his right to keep and bear

arms. Id. at 670-671. 2

        B.       Bruen replaced means-ends balancing with a test rooted solely in the
                 Second Amendment’s “text and history.”

        In Bruen, however, the Supreme Court squarely rejected such “judge-empowering”

tests – instructing the courts firmly to respect the “balance... struck by the traditions of the

American people” as embodied in the text and “unqualified command” of the Second

Amendment. Bruen, 142 S. Ct. at 2130-31. Bruen rejected the lower courts’ framework,

holding “Heller and McDonald do not support applying means-end scrutiny in the Second

Amendment context.” Id. at 2127. The Court was emphatic that going forward, courts

consider only “constitutional text and history,” Id. at 2128-29 & n. 5, which are now the only

relevant steps in the analysis. At the first step, Bruen clarified, if “the Second Amendment’s

plain text covers an individual’s conduct,” then “the Constitution presumptively protects that

conduct.” Id.at 2129-30. To rebut the presumption, at the second step the government must

show that a challenged law “is consistent with the Nation’s historical tradition of firearm




2The First Circuit explicitly adopted this framework in Gould v. Morgan. Prior to that time, as Gould noted, it
“employed an analysis that resembled some part of the framework.” Id. at 669 n. 4 (citing United States v.
Rene E. 538 F.3d 8 (1st Cir. 2009) and United States v. Booker, 644 F.3d 12 (1st Cir. 2011)).
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regulation.” Id. at 2129-30. Only if a firearm regulation is consistent with this Nation’s

historical tradition may a court conclude that the individual’s conduct falls outside the

Second Amendment’s unqualified command.” Id. at 2126. This test requires courts to

“consider whether historical precedent . . . evinces a comparable tradition of regulation.” Id.

at 2131-32.          If “no such tradition” exists, then the statute being challenged is

unconstitutional. Id. at 2132. And insofar as there are “multiple plausible interpretations”

of an ambiguous historical record, courts must “favor the one that is more consistent with

the Second Amendment’s command.” Id. at 2141 n.11. Put differently, the tie goes to the

Second Amendment claimant. See also id. at 2139 (concluding that where “history [is]

ambiguous at best,” it “is not sufficiently probative to defend [a statute]”).

         The Court explained that “[c]onstitutional rights are enshrined with the scope they

were understood to have when the people adopted them.” Id. at 2136 (emphasis in original).

For that reason, the relevant “historical tradition” for purposes of a federal gun regulation

is that which existed in 1791, when the Second Amendment was ratified. Id. at 2136. 3

Courts may look to the tradition of firearms regulation “before . . . and even after the

founding” period, but they should do so with care. Id. at 2131-32. The Court cautioned, for

example, that “[h]istorical evidence that long predates [1791] may not illuminate the scope

of the [Second Amendment] right if linguistic or                       legal     conventions changed in the

intervening years.” Id. at 2136. Courts should not “rely on an ancient practice that had

become obsolete in England at the time of the adoption of the Constitution and never was

acted upon or accepted in the colonies.” Id.



3 The Court reserved the question whether courts entertaining challenges to state statutes should examine
history as of 1868, when the Fourteenth Amendment was adopted. Id. at 2137-38.
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       Conversely, courts must “guard against giving post enactment history more weight

than it can rightly bear.” Id. Evidence “of how the Second Amendment was interpreted from

immediately after its ratification through the end of the 19th century represent[s] a critical

tool of constitutional interpretation.” Id. But the farther forward in time one goes from 1791,

the less probative historical evidence becomes. See id. at 2137 (“As we recognized in Heller

itself, because post-Civil War discussions of the right to keep and bear arms took place 75

years after the ratification of the Second Amendment, they do not provide as much insight

into its original meaning as earlier sources.”). Evidence from “the mid- to late-19th-

century” provides little “insight into the meaning of the Constitution in [1791].” Id. Courts

should therefore credit such history to the extent it provides “confirmation” of prior practice

with which it is consistent, but should otherwise afford it little weight. Id. After all, “post-

ratification adoption or acceptance of laws that are inconsistent with the original meaning of

the constitutional text obviously cannot overcome or alter that text.” Id. (emphasis in

original); see also id. (“[T]o the extent later history contradicts what the text says, the

text controls.”).

       As Bruen explained, the standard for reviewing the government’s historical evidence

differs depending on what kind of problem a statute is intended to remedy. In “some cases,”

where a challenged statute “addresses a general societal problem that has persisted since

the 18th century,” the historical inquiry “will be fairly straightforward.” Bruen, 142 S. Ct. at

2131. The government can defend such statutes only by identifying a tradition of “distinctly

similar” regulations from the founding era. Id. In those types of cases

       … the lack of a distinctly similar historical regulation addressing that problem is
       relevant evidence that the challenged regulation is inconsistent with the Second
       Amendment. Likewise, if earlier generations addressed the societal problem, but did
       so through materially different means, that also could be evidence that a modern
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       regulation is unconstitutional. And if some jurisdictions actually attempted to enact
       analogous regulations during this timeframe, but those proposals were rejected on
       constitutional grounds, that rejection surely would provide some probative evidence
       of unconstitutionality.

Id. at 2131; see also id. (explaining that if “the Founders themselves could have adopted” a

particular regulation “to confront” “a perceived societal problem,” but did not do so, then

that regulation is unconstitutional today).

       In “other cases,” where a statute addresses a problem that was “unimaginable at the

founding,” a less demanding standard applies. Id. at 2132. This standard “involve[s]

reasoning by analogy”—asking whether a modern firearm regulation and a historical

analogue are “relevantly similar” in terms of (1) whether they “impose a comparable burden

on the right of armed self-defense,” and (2) “whether that burden is comparably justified.”

Id. at 2132-33. But this form of historical inquiry is permissible only if the

challenged statute is directed at “unprecedented societal concerns or dramatic

technological changes” that are “not . . . the same as those that preoccupied the Founders

in 1791.” Id. at 2132.

       Whether based on “distinctly similar” precursors or merely historical analogues, the

“comparable tradition of regulation” must be robust. See id. (requiring “a well- established

and representative” historical analogue); id. at 2137 (explaining that “a governmental

practice” can “guide [courts’] interpretation of an ambiguous constitutional provision” if that

practice “has been open, widespread, and unchallenged since the early days of the

Republic”). A handful of “outlier[]” statutes or cases from a small number of “outlier

jurisdictions” do not make out a historical tradition. Id. at 2153, 2156. The Court expressed

“doubt,” for instance, that statutes from only three of the original thirteen colonies would be

sufficient to establish a relevant tradition. Id. at 2142. And in evaluating 19th-Century
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“surety laws” that New York argued were precursors to its “proper cause” requirement, the

Court discounted two of those ten laws—which were closest to New York’s—as

unrepresentative. See id. at 2148 n.24. Moreover, even if certain statutes were widespread,

courts should not consider them determinative unless the historical record reveals the

statutes were actually enforced. See id. at 2149 (dismissing surety laws because

“respondents offer little evidence that authorities ever enforced [those] laws”).

       Finally, Bruen emphasized—repeatedly—that “the burden falls on [the government]

to show that [a statute] is consistent with this Nation’s historical tradition of firearm

regulation.” Id. at 2135. The “[g]overnment bears the burden” of “affirmatively prov[ing] that

its firearms regulation is part of the historical tradition that delimits the outer bounds of the

right to keep and bear arms.” Id. at 2127, 2130. Courts are “entitled to decide a case based

on the historical record compiled by the parties.” Id. at 2130 n.6. As a result, courts “are

not obliged to sift the historical materials for evidence to sustain

[a] statute. That is [the government’s] burden.” Id. at 2150; see also id. at 2149 n.25 (“[T]he

burden rests with the government to establish the relevant tradition of regulation.”).

III.   18 U.S.C. § 922(g)(1) VIOLATES THE SECOND AMENDMENT

       Section 922(g)(1) fails both steps of the Bruen analysis. First, the Second

Amendment’s plain text covers Mr. Donovan’s conduct of possessing firearms and

ammunition. Second, the government will not be able to carry its burden of establishing a

historical tradition of felon-disarmament laws. Bruen’s requirements are demanding: a

firearm regulation is consistent with American tradition only if distinctly similar regulations

were widespread and commonly accepted in the founding era when the Second Amendment

was adopted. And they were not. For these reasons further detailed below, § 922(g)(1) is

facially unconstitutional. The Court should dismiss counts three and four of the indictment
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 for failure to state an offense.

        A. BRUEN STEP ONE: THE SECOND AMENDMENT’S PLAIN TEXT COVERS MR.
           DONOVAN’S CONDUCT OF POSSESSING FIREARMS AND AMMUNITION.

        At step one of the Bruen analysis, the Court asks whether “the Second Amendment’s

 plain text covers the individual’s conduct.” Bruen, 142 S. Ct. at 2129-30. That text contains

 three elements, guaranteeing the right (1) “of the people, (2) “to keep and bear,” (3) “arms.”

 Heller, 554 U.S. at 579-85. As explained below, Mr. Donovan and his conduct fall squarely

 within each element.

               1.       Mr. Donovan is among “The People” protected under the Second
                        Amendment.

       In Heller the Supreme Court explained that when the Constitution refers to “‘the

people,’ the term unambiguously refers to all members of the political community, not an

unspecified subset,” and that there is a “strong presumption that the Second Amendment

right is exercised individually and belongs to all Americans.” Heller, 554 U.S. at 580-81.

       Mr. Donovan is an American citizen and lifelong member of the national community.

Thus, the Second Amendment’s use of the phrase “the people” unambiguously refers to him.

Id. at 579. Just as the Second Amendment does not “draw… a home/public distinction with

respect to the right to keep and bear arms,” Bruen, at 2134, it does not draw a distinction

between felons and non-felons. United States v. Jimenez-Shilon, 34 F.4th 1042, 1046 (11th Cir.

2022) (describing felons as “indisputably       part   of   ‘the   people’” under the Second

Amendment); see also United States v. Meza-Rodriguez, 798 F.3d 664, 671 (7th Cir. 2015)

(holding that a person’s criminal record is irrelevant in determining whether the person is

among “the people” protected under the Second Amendment; noting that the amendment

“is not limited to such on-again, off-again protections”); Folajtar v. Attorney Gen., 980 F.3d

897, 912 (3d Cir. 2020) (Bibas, J., dissenting) (“Felons are more than the wrongs they have
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    done. They are people and citizens who are part of ‘We the People of the United States.’”).

    See also Kanter v. Barr, 919 F.3d 437, 451–52 & 464 (7th Cir. 2019) (Barrett, J., dissenting)

    (explaining that a person’s status – e.g. felon– is properly considered in the question of

    historical tradition, rather than the existence of the right and that “[h]istory does not

    support the proposition that felons lose their Second Amendment rights solely because of

    their status as felons.”). 4

              2.      Keep and Bear Arms.

             As the Court recognized in Heller, the word “keep” means “[t]o have in custody” or to

     “retain in one’s power of possession.” 554 U.S. at 582. And the word “bear” means “to ‘carry.’”

     Id. at 584. Moreover, the Court held in Bruen, the meaning of “bear” even includes carrying

     in public outside the home. 142 S. Ct. at 2134-35 (“To confine the right to ‘bear’ arms to the

     home would nullify half of the Second Amendment’s operative protections.”) Thus, the Court

     has made clear, the text of the Second Amendment protects the right to possess a firearm

     both inside and outside the home.

             Finally, the term “arms” refers to “[w]eapons of offense, or armour of defense.”

     Heller, 554 U.S. at 581. The Supreme Court has construed the term as “extend[ing] … to

     all instruments that constitute bearable arms, even those that were not in existence at

     the time of the founding.” Id. at 582. And it has specifically held the term protects the

     right to possess “handguns,” id. at 629, which were in “common use” at the founding. Id. at

     627. The indictment alleges that Mr. Donovan possessed a Mossberg shotgun as well as




4 A contrary interpretation of “the people” would produce anomalous results. Heller explained that “the people” is a “term of
art” that has a uniform meaning across a number of constitutional provisions, namely, the First, Second, Fourth, and Ninth
Amendments. 554 U.S. at 579-80. If law- breaking excludes someone from “the people” for Second Amendment purposes, then
it excludes him from “the people” for First and Fourth Amendment purposes as well. The result would be that even after
serving all terms of his sentence (including probation or parole), a felon could be permanently deprived of his right to speak
about matters of public concern, to worship according to his faith, or to be free from warrantless searches of his home.
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    ammunition. All would come within the definition of “arms.” 5

              Because “the Second Amendment’s plain text covers Mr. Donovan’s conduct, the

    Constitution presumptively protects that conduct.” Bruen, 142 S. Ct. at 2126. To rebut the

    presumption, the government must establish that § 922(g)(1) “is consistent with this

    Nation’s historical tradition of firearm regulation.” Id. The “general societal problem” that

    § 922(g)(1) is designed to address—i.e., felons with access to guns—is one “that has

    persisted since the 18th century.” Id. at 2131. As a result, § 922(g)(1) is unconstitutional

    unless the government shows a robust tradition of “distinctly similar historical

    regulation[s]” as of 1791, when the Second Amendment was ratified. Id. The government

    will be unable to make that showing.


             What is today § 922(g)(1) traces its origins to 1938, when Congress passed a statute,

    the Federal Firearms Act, prohibiting certain felons from receiving firearms. United States

    v. Skoien, 614 F.3d 638, 640 (7th Cir. 2010) (en banc) (citing c. 850, § 2(f),

    52 Stat. 1250, 1251 (1938)). At that time, the statute “covered only a few violent offenses,”

    id., prohibiting firearm possession by those convicted of crimes such as murder, rape,

    kidnapping, and burglary, United States v. Booker, 644 F.3d 12, 24 (1st Cir. 2011). It was not

    until 1961 that Congress amended the statute to prohibit “possession by all felons.” Skoien,

    614 F.3d at 640 (emphasis in original) (citing Pub. L. 87–342, 75 Stat. 757); Booker, 644 F.3d

    at 24. Seven years later, “Congress changed the ‘receipt’ element of the 1938 law to

    ‘possession,’ giving 18 U.S.C. § 922(g)(1) its current form.” Id. Thus § 922(g)(1) “is firmly



5 See Ass’n of N.J. Rifle & Pistol Clubs, Inc. v. Attorney Gen. of N.J., 910 F.3d 106, 116 (3d Cir. 2018); (“ammunition is necessary
for [] a gun to function are intended.”); Jackson v. City of San Francisco, 746 F.3d 953, 967 (9th Cir. 2014) (noting that
“without bullets, the right to bear arms would be meaningless” and holding that city ordinance prohibiting the sale of
hollow-point ammunition regulates conduct within the scope of the Second Amendment).
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rooted in the twentieth century,” Booker, 644 F.3d at 24—a century and a half after

adoption of the Second Amendment. Regulations of such recent vintage cannot

establish a historical tradition unless they “confirm[]” earlier practice. Bruen, 142 S. Ct. at

2137. Indeed, in Bruen the Court said it would not even “address any of the 20th-century

historical evidence brought to bear by respondents or their amici,” since such evidence “does

not provide insight into the meaning of the Second Amendment when it contradicts earlier

evidence.” Id. at 2154 n.28.

       Even if the Court broadens its focus to consider state statutes as well, § 922(g)(1)

“bears little resemblance to laws in effect at the time the Second Amendment was ratified.”

N.R.A. v. A.T.F., 700 F.3d 185, 196 (5th Cir. 2012). In 2007, Robert H. Churchill, a history

professor at the University of Hartford, undertook “a full survey of printed session laws

pertaining to gun regulation in the thirteen colonies and Vermont between 1607 and 1815.”

Robert H. Churchill, Gun Regulation, the Police Power, and the Right to Keep Arms in Early

America: The Legal Context of the Second Amendment, 25 Law & Hist. Rev. 139, 143 & n.11

(2007) (hereafter “Churchill”). Based on that survey, Churchill concluded that “at no time

between 1607 and 1815 did the colonial or state governments of what would become the

first fourteen states exercise a police power to restrict the ownership of guns by members

of the body politic.” Id. at 142. Carlton Larson, a professor at the University of California-

Davis School of Law, has written that, “[a]s far as [he] can determine, state laws prohibiting

felons from possessing firearms or denying firearms licenses to felons date from the early

part of the twentieth century.” Carlton F.W. Larson, Four Exceptions in Search of A Theory:

District of Columbia v. Heller and Judicial Ipse Dixit, 60 Hastings L.J. 1371, 1376 (2009).

       Other scholars agree. Although it is difficult “to prove a negative, one can with a good
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  degree of confidence say that bans on convicts possessing firearms were unknown

  before World War I.” C. Kevin Marshall, Why Can’t Martha Stewart Have A Gun?, 32 Harv.

  J. L. & Pub. Pol’y 695, 708 (2009). It appears New York became the first state to enact such a

  ban, when in 1917 it made a felony conviction a basis for revoking a concealed- weapon

  permit. Id. No other state passed a felon-disarmament law until 1923. Id.; see also Adam

  Winkler, Heller’s Catch-22, 56 UCLA L. Rev. 1551, 1563 (2009) (“Bans on ex- felons

  possessing firearms were first adopted in the 1920s and 1930s, almost a century and a half

  after the Founding.”); Nelson Lund, The Second Amendment, Heller, and Originalist

  Jurisprudence, 56 UCLA L. Rev. 1343, 1357 (2009) (noting “the absence of historical support

  for the claim that [felon-disarmament laws] are consistent with the preexisting right to

  arms”); Lawrence Rosenthal, The Limits of Second Amendment Originalism and the

  Constitutional Case for Gun Control, 92 Wash. U. L. Rev. 1187, 1211 (2015) (“[P]rohibitions

  on the possession of firearms by convicted felons emerged early in the twentieth century

  in response to a crime wave following the First World War.”); accord N.R.A., 700 F.3d at 197

  (“[A] strictly originalist argument for . . . bans on firearm possession by felons . . . is difficult

  to make.”).

         In short, there was no “historical tradition,” circa 1791, of gun regulations “distinctly

  similar” to § 922(g)(1). Bruen, 142 S. Ct. at 2130-31. The “Founders themselves could have

  adopted” laws like § 922(g)(1) to “confront” the “perceived societal problem” posed by

  violent felons. Id. at 2131. But they declined to do so, and that inaction indicates § 922(g)(1)

  “[i]s unconstitutional.” Id.

  The government cannot attempt to justify § 922(g)(1) by resorting to “analogical

reasoning.” Id. at 2132. According to Bruen, that mode of analysis is available only when          a
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Second Amendment challenge “implicat[es] unprecedented societal concerns,” “dramatic

technological changes,” or “modern regulations that were unimaginable at the founding.” Id.

But the potential danger posed by felons’ access to firearms would have been neither

unprecedented nor unimaginable to the Founders. As a result, the government cannot rebut

the presumption of unconstitutionality by identifying a “historical analogue” to § 922(g)(1). Id.

at 2133.

           Even if analogical reasoning were appropriate in this case, however, it would not aid

  the government. Mr. Donovan is unaware of a historical tradition of founding-era statutes

  that are “relevantly similar” to § 922(g)(1). Id. at 2132. The government will therefore   be

  unable to shoulder its burden of rebutting the presumption of unconstitutionality.


                  1.   Heller’s statements about “presumptively lawful regulatory measures”
                       and “law-abiding, responsible citizens” do not control this case.

           Mr. Donovan expects the government will attempt to sidestep the straightforward

  Bruen analysis above by falling back on two passages from Heller that supposedly place

  felons outside the protection of the Second Amendment. In the government’s view, these

  passages deem felon-disarmament laws “presumptively lawful” and limit Second

  Amendment rights to “law-abiding, responsible citizens.” Neither passage justifies ignoring

  Bruen’s clear command. The first was dicta and, in any event, has been superseded by the

  new Bruen framework; the second establishes a constitutional baseline that protects, rather

  than limits, Second Amendment rights. These passages cannot save § 922(g)(1).

                        a.      “Presumptively lawful regulatory measures”

           After completing its historical survey, and before assessing the constitutionality of

  the District of Columbia’s statutes, the Court in Heller inserted some “precautionary
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language.” Tyler v. Hillsdale Cty. Sheriff’s Dep’t, 837 F.3d 678, 688 (6th Cir. 2016) (en banc).

The Court wrote that the Second Amendment right “is not unlimited” and is “not a right to

keep and carry any weapon whatsoever in any manner whatsoever and for whatever

purpose.” Heller, 554 U.S. at 626. It then added the language that Mr. Donovan expects the

government to cite in this case:

         Although we do not undertake an exhaustive historical analysis today of the full scope
         of the Second Amendment, nothing in our opinion should be taken to cast doubt on
         longstanding prohibitions on the possession of firearms by felons and the mentally
         ill, or laws forbidding the carrying of firearms in sensitive places such as schools and
         government buildings, or laws imposing conditions and qualifications on the
         commercial sale of arms.

Id. at 626-27. In an accompanying footnote, the Court wrote, “We identify these

presumptively lawful regulatory measures only as examples; our list does not purport to

be exhaustive.” Id. at 627 n.26.

         In other cases, the government has argued this portion of Heller definitively

establishes that felon-disarmament laws are consistent with the Second Amendment. That

view is mistaken. The question of felon-disarmament laws’ constitutionality was not

before the Court in Heller, and any statements in the opinion addressing that question are

therefore “dicta.” See Voisine v. United States, 579 U.S. 686, 715 (2016) (Thomas, J.,

dissenting on other grounds) (describing Heller’s discussion of felon- disarmament laws

as “dicta”). 6 The result is that, as the en banc Seventh Circuit has explained, the passage

cited above should not be treated as a holding:

         The language we have quoted warns readers not to treat Heller as containing broader
         holdings than the Court set out to establish: that the Second Amendment

6See also, e.g., Tyler v. Hillsdale County Sheriff’s Dept., 837 F.3d 678, 686-87 (6th Cir. 2016) (describing Heller’s
“presumptively lawful” language as “dictum”); United States v. Scroggins, 599 F.3d 433, 451 (5th Cir. 2010) (same); United
States v. Williams, 616 F.3d 685, 692 (7th Cir. 2010) (same); United States v. McCane, 573 F.3d 1037, 1049 (10th Cir. 2009)
(Tymkovich, J., concurring) (characterizing “presumptively lawful” language as “the opinion’s deus ex machina dicta”).
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       creates individual rights, one of which is keeping operable handguns at home for self-
       defense. What other entitlements the Second Amendment creates, and what
       regulations legislatures may establish, were left open. The opinion is not a
       comprehensive code; it is just an explanation for the Court’s disposition. Judicial
       opinions must not be confused with statutes, and general expressions must be read
       in light of the subject under consideration.

Skoien, 614 F.3d at 640; accord Tyler, 837 F.3d at 687 (same). See also Booker, 644 F.3d at

23 (noting that the First Circuit finds itself in agreement with the Seventh Circuit’s

observation in Skoien, “of the relatively futility of ‘parsing these passages of Heller as if they

contain an answer to the question of whether [a statute] is valid.’”).

       Finally, even if the Heller dicta might once have warranted deference, it no longer

does today. This particular dicta has been “enfeebled by later statements” in a subsequent

Supreme Court case. McCoy, 950 F.2d at 19. It may be true that “nothing in [Heller] cast doubt

on longstanding prohibitions on the possession of firearms by felons,” Heller, 554 U.S. at 626,

but Bruen’s new framework does cast doubt on such laws. As explained above, Bruen

demands a “text-and-history” analysis that looks only to “the Second Amendment’s plain

text” and our “Nation’s historical tradition of firearm regulation.” 142 S. Ct. at 2126, 2138.

Neither of those sources provides any support for felon-disarmament laws. It is perhaps

unsurprising, then, that the Court in Bruen did not repeat Heller’s dicta about “longstanding”

and “presumptively lawful” felon- disarmament laws.

       Rather than following outdated, historically unsupportable dicta from Heller, this

Court should adhere to the binding framework supplied by Bruen. Elevating Heller’s

dicta over Bruen’s holding would treat the Second Amendment right “as a second-class

right,” contrary to the Supreme Court’s admonishment in McDonald. 561 U.S. at 780.

                      b.       “Law-abiding, responsible citizens”

      In rejecting the “interest-balancing inquiry” proposed by Justice Breyer’s dissent, the
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Heller majority explained that the Second Amendment “is the very product of an interest

balancing by the people.” 554 U.S. at 634-35 (emphasis in original). The result is that

judges lack authority to “conduct [that balancing] anew” or “decide on a case- by-case basis

whether the right is really worth insisting upon.” Id. (emphasis in original). And regardless,

the Court wrote, “whatever else [the Second Amendment] leaves to future evaluation, it

surely elevates above all other interests the right of law-abiding, responsible citizens to use

arms in defense of hearth and home.” Id. at 635. Based on this language, the government has

argued elsewhere that only “law-abiding, responsible citizens” enjoy the right to keep and

bear arms.

       This argument plainly misreads Heller. The Court in Heller did not limit the Second

Amendment right to law-abiding, responsible citizens. Rather, it said that, at the very least,

such people are protected by the Second Amendment. By beginning the quoted passage with

“whatever else it leaves to future evaluation,” the Court made clear that its reference to “law-

abiding, responsible citizens” was meant to establish a Second Amendment floor, not a

ceiling. The Court, in other words, held that law-abiding, responsible citizens have a right to

possess firearms, but it did not address whether— much less rule out the conclusion that—

other people have that right, too.

       Heller’s qualifying language is clear, but to the extent it was ambiguous, Bruen

dispelled the ambiguity. The passage cited above references law-abiding, responsible

citizens’ right to use arms “in defense of hearth and home.” Id. If that passage were meant

to demarcate the outer limits of the Second Amendment right, then even law- abiding,

responsible citizens would have no right to use firearms outside the home. But Bruen held

the Second Amendment right does extend outside the home, 142 S. Ct. at 2134, and the
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Court in Bruen gave no hint that it believed it was contradicting what it said in Heller. Thus

Bruen confirms that it would be a mistake to read Heller’s “law-abiding, responsible citizens”

language as a limitation on the Second Amendment.

       Heller also used the word “law-abiding” during a discussion of the Court’s opinion in

United States v. Miller, 307 U.S. 174 (1939), which the District of Columbia cited to support

its collective-rights view of the Second Amendment. The Heller Court wrote that it “read

Miller to say only that the Second Amendment does not protect those weapons not typically

possessed by law-abiding citizens for lawful purposes, such as short- barreled shotguns.”

554 U.S. at 625. This reference to “law-abiding” citizens, like the last, does not suggest, much

less hold, that only the law-abiding enjoy Second Amendment rights. As the Heller Court

emphasized, Miller addressed “the type of weapon[s]” that are “eligible for Second

Amendment protection”—which Heller explicitly contrasted with the question of the type of

people who are eligible for Second Amendment protection. Id. at 622 (emphasis in original)

(explaining Miller did not turn on whether “the Second Amendment protects only those

serving in the militia,” but rather on “the character of the weapon” at issue in that case).

Heller’s use of the word “law-abiding,” therefore, provides no support for the view that felons

are unentitled to the Second Amendment’s protection.

       Mr. Donvan recognizes that, at times, Bruen repeats Heller’s “law-abiding citizens”

formulation. E.g., 142 S. Ct. at 2156 (“New York’s proper-cause requirement violates the

Fourteenth Amendment in that it prevents law-abiding citizens with ordinary self- defense

needs from exercising their right to keep and bear arms.”). But that is because the petitioners

alleged, “[a]s set forth in the pleadings below,” that they were “law- abiding, adult citizens,”

and the Court granted certiorari to decide only whether “New York’s denial of petitioners’
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license applications violated the Constitution.” Id. at 2124-25 (emphasis added). No other

questions were before the Court in Bruen. Heller’s description of the right to bear arms “in

the home” does not mean the Second Amendment is inapplicable to other places, and the

same is true here: Bruen’s description of “law-abiding citizens” does not mean the Second

Amendment is inapplicable to other people.

       If Bruen excluded the non-law-abiding from the Second Amendment, the opinion

would suffer from hopeless internal inconsistency. Bruen’s central lesson is that history   is

paramount in Second Amendment interpretation—a point the Court made over and over

again. See, e.g., id. at 2127 (“[Heller] demands a test rooted in the Second Amendment’s text,

as informed by history.”); id. (“[Heller] looked to history because ‘it has always been widely

understood that the Second Amendment . . . codified a pre-existing right.’”(emphasis in

original)); id. at 2128-29 (“Heller’s methodology centered on constitutional text and

history.”); id. at 2129 (describing means-ends balancing as “inconsistent with Heller’s

historical approach”); id. at 2130 (likening Second Amendment to First because, in both

instances, “to carry [its] burden, the government must generally point to historical evidence

about the reach of the [amendment’s] protections” (emphasis in original)); id. (“And beyond

the freedom of speech, our focus on history also comports with how we assess many other

constitutional claims.”); id. at 2131 (“The test that we set forth in Heller and apply today

requires courts to assess whether modern firearms regulations are consistent with the

Second Amendment’s text and historical understanding.”); id. at 2135 (“[T]he burden falls

on respondents to show that New York’s proper-cause requirement is consistent with this

Nation’s historical tradition of firearm regulation.”); id. at 2138 (“We conclude that

respondents have failed to meet their burden to identify an American tradition justifying
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New York’s proper- cause requirement. Under Heller’s text-and-history standard, the

proper-cause requirement is therefore unconstitutional.”); id. at 2145 (“Thus, all told, in the

century leading up to the Second Amendment and in the first decade after its adoption, there

is no historical basis for concluding that the pre-existing right enshrined in the Second

Amendment permitted broad prohibitions on all forms of public carry.”).

                    2.    The First Circuit’s prior rulings do not demonstrate that 18
                          U.S.C. § 922(g)(1) is consistent with this Nation’s historical
                          tradition of firearm regulation and thus cannot control this
                          case.

       The First Circuit addressed the constitutionality of § 922(g)(1) in United States v.

Torres-Rosario, 658 F.3d 110 (1st Cir. 2011). Since Heller it has also addressed Second

Amendment challenges to 18 U.S.C. § 922(x)(2)(A), which bans juvenile possession of

handguns and 18 U.S.C. § 922(g)(9), which prohibits firearm possession by individuals

convicted of misdemeanor crimes of domestic violence. See United States v. Rene E., 583 F.3d

8 (1st Cir. 2009) and United States v. Booker, 644 F.3d 12 (1st Cir. 2011). Torres- Rosario

involved both a facial and as-applied challenge. Regarding the facial challenge, Torres-

Rosario stated only that “[a]ll of the circuits to face the issue post Heller have rejected blanket

challenges to felon-in-possession laws.” Id. at 113. It undertook no analysis of the historical

tradition of felon disenfranchisement regulations. In assessing the as-applied challenge, the

First Circuit observed that the Supreme Court may be open to claims that some felonies do

not indicate potential violence and thus cannot be the basis for applying a categorical ban.

However, it noted that Torres-Rosario’s prior convictions were serious drug offenses and

that “drug dealing is notoriously linked to violence.” Id. at 113. It concluded that “[a]ssuming

arguendo that the Supreme Court might find some felonies so tame and technical as to be

insufficient to justify the bad, drug dealing is not likely to be among them.” Id.
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         Although Torres-Rosario did not cite to either case, the First Circuit did engage in

some discussion of the historical tradition of firearm regulation in two prior cases: Rene E.

(juvenile possession of handguns) and Booker (misdemeanants convicted of domestic

violence). In Rene E. the First Circuit cited thirteen state cases criminalizing the sale to and

in some instances the possession of guns by juveniles from 1858 to 1926. Id. at 14-15.

Acknowledging that these cases only went back as far as the Civil War period, the Court

noted that there was “at least some evidence” that the founding generation would have

shared this view, and noted that limitations on juvenile possession “were sometimes

expressed as efforts to disarm the ‘unvirtuous.’” Id. at 15 (citing Glenn Harlan Reynolds, A

Critical Guide to the Second Amendment, 62 Tenn. L. Rev. 461, 480 (1995)). 7 It then observed

that “[i]n a sense, the federal ban on juvenile possession of handguns is part of a longstanding

practice of prohibiting certain classes of individuals from possessing firearms – those whose

possession poses a particular danger to the public.” Id. It cited three law review articles to

support this view. However, it also observed that “[t]o be sure, there is an ongoing debate

among historians about the extent to which the right to bear arms in the founding period

turned on concerns about the possessor’s ‘virtue,’ i.e. on a legislative judgment that

possession of firearms would pose a serious danger to the public.” Id. at 16 (citing Churchill,

supra at 13). Nevertheless, it concluded that “even Churchill appears to agree that the right

to keep arms in the founding period did not extend to juveniles.” Id. at 16.

         In Booker, the First Circuit acknowledged that the language in Heller that the “right




7In Kanter v. Barr, then-Judge Barrett noted that “[t]he problem with this argument is that virtue exclusions are
associated with civil rights – individual rights that ‘require[d] citizens to act in a collective manner for distinctly public
purposes.’ . . . Heller, however, expressly rejects the argument that the Second Amendment protects a purely civil right.
Kanter, 919 F.3d at 462-463.
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secured by the Second Amendment is not unlimited” and that “nothing in our opinion should

be taken to cast doubt on longstanding prohibitions on the possession of firearms by felons

and the mentally ill” were “passages that had been the subject of much debate in the courts

as well as extensive academic commentary, and that “the full significance of these

pronouncements is far from self-evident.” 644 F.3d at 23. In general, it noted the “relative

futility of ‘pars[ing] these passages of Heller as if they contain an answer to the question

whether § 922(g)(9) is valid.” Id. (citing Skoien, 614 F.3d at 640). Nevertheless, it noted

that the passages signaled first that “statutory prohibitions on the possession of

weapons by some persons are proper,” and second that “the legislative role did not

end in 1791.” Id. at 23 (citing Skoien, 614 F.3d at 640)).

       The Booker court frankly acknowledged that “the modern federal felony firearm

disqualification law . . . is firmly rooted in the twentieth century and likely bears little

resemblance to laws in effect at the time the Second Amendment was ratified.” 644 F.3d at

23-24. It acknowledged as well that “the historical pedigree of laws disarming those

convicted of a crime is subject to substantial debate among scholars.” Id. at 24 (citing five

law review articles). However, it reasoned that “[t]he recency of enactment and the

continuing evolution of this ‘presumptively lawful’ limit on gun ownership support the

conclusion that, ‘although the Justices have not established that any particular statute is

valid . . . exclusions need not mirror limits that were on the books in 1791.’” Id. at 24 citing

Skoin, 614 F.3d at 651. In addition, it stated forcefully that the age of the regulation could not

be the key to its constitutionality:

       Nor can it be that the relative age of a regulation is the key to its constitutionality.
       As the Seventh Circuit has observed, “[i]t would be weird to say that § 922(g)(9) is
       unconstitutional [at this time] but will become constitutional by 2043, when it will
       be ‘longstanding’ as § 922(g)(1) was when the Court decided Heller.
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Id. at 24. While the Court noted that it had looked closely at the history of restrictions on gun

possession by juveniles in Rene E., it disclaimed that “our decision in Rene. E. should not be

taken to suggest, however, that a law may only be found constitutional reference to its

historical provenance.” Id. at 24. n. 15. The Court went on to hold that the categorical ban on

gun ownership by misdemeanants convicted of domestic violence was supported by a “strong

showing” necessitating a “substantial relationship between the restriction and an important

government objective.” Id. at 25.

        The problem, of course, is that this analysis is directly contrary to the central premise

 of Bruen -- that to determine if a specific firearms regulation is constitutional, the Court must

 assess whether the government has “affirmatively prov[ed] that its firearms regulation is

 part of the historical tradition that delimits the outer bounds of the right to keep and bear

 arms.” Bruen, at 2127, 2130. Moreover, while Booker states that “exclusions need not mirror

 limits that were on the book in 1791,” Bruen sets forth strict guidelines for when a court may

 “reason by analogy” – only when a statute addresses a problem that was “unimaginable at

 the founding,” (id. at 2132) and not when a challenged statute “addresses a general societal

 problem that has persisted since the 18th century (id. at 2131). Because of this and because

 Booker heavily relied upon the “presumptively lawful” dicta of Heller, the First Circuit’s prior

 analysis cannot control this case.

                                       CONCLUSION

        Section 922(g)(1) is not consistent with the nation’s historical tradition of firearm

 regulation and violates the Second Amendment. The Court should therefore dismiss the

 indictment.

        The government through AUSA Anna Krasinski objects.
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        A hearing is requested.

November 23, 2022                             Respectfully submitted,
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on November 23, 2022 the above document was served
 electronically upon all counsel of record through the CM/ECF filing system.


                                               /s/Donna J. Brown
                                               Donna J. Brown
